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                                          MOTION FOR:
                                             JUDGEMENT ON
                                             THE PLEADINGS
                                                    OR
                                          CHANGE OF VENUE TO THE
                                          9TH CIRCUIT, DUE TO CASE
                                          BEING CORRUPTED AND
                                          IT NOT BEING ADDRESSED
                                          OR TAKEN SERIOUSLY

                                            JUDGE: HON JINSOOK OHTA




   THIS AREA LEFT BLANK INTENTIONALLY



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 1   I OFFERED A SETTLEMENT DUE TO FAMILY EMERGENCY

 2          On 11/09/2022, I offered the Defendants my willingness to settle my case for less than half of
     the demand amount; $3,500,000 to be exact. I explained my family emergency in Texas, which was
 3
     part of my motivating factor behind the settlement offer, the other was how long this case has been
 4
     forced to drag out, and I’m expected to embrace another year, while the Defendants are fresh looking
 5
     forward to additional time. From this point, I will give the Defendants the same consideration that
 6
     they gave my family. In other words, my family wasn’t given a 1st or 2nd thought, when we were
 7   wronged and railroaded out of our home and into the streets, where we suffered immensely. Reason
 8   being, we were targeted, plotted against and made to pay & suffer for the failures of the 4
 9   Defendants, that they not only planned but also, thoughtfully placed on us, because between the 4
10   Defendants, no voice of proper morality or reason existed.

11   MY INTENTIONS FROM THIS POINT
            I’m no one, but my case was compromised from 03/04/2021 [ECF No. 76], and over the
12
     course of the next few months, it was methodically twisted, totally by Judge Curiel who made the
13
     decision to take sides with the Defendants, whom he had a plan of entry for as Defendants, who
14
     would be immune from the penalty of the Summons, by fabricating revised versions of the related
15
     laws and their requirements. Due to their failure to Answer on 3 occasions, deceit would be the only
16   way to defend whom he had chosen to support. Why would I be delighted, when either I’m not being
17   heard & my experiences not being reviewed, or another supporter has come to show their support and
18   loyalty by following what’s been set in motion via Judicial Misconduct? The 2nd Judge followed his

19   lead by procrastinating with the use of my 22 unanswered Motions, only responding to them by
     taking advantage of the 90-day judgement rule, thru until the 88th day; while properly responding to
20
     the Defendants 3 Motions to Dismiss the 7thAC, knowing Judge Curiel co-signed it and ORDERED
21
     me to file it, but why not beat a dead horse for the Defendants? Then when she was forced to have the
22
     hearing, it was geared strictly to the Defendants. She took Atty Hamilton’s misstated facts as Gospel,
23
     and Dismissed the Unruh Civil Rights Act, which is TOTALLY FITTING THE CRIME, but is the
24   only one without a CAP on the monetary award that can be determined, so by all means, it had to go.
25   But how will it look when their malicious violations against my family, blows the Unruh Civil Rights
26   Act away? It will either prove that she supported his hateful actions with her own, or her
27   interpretation ability has flown the coop. I’m only speaking frankly and sincerely without sugar

28
     coating about what’s been done, from my perspective.


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 1   Tell me how a Housing Authority’s Director, 2 Supervisors and a Case Worker, who do the following

 2   to a family, who was confirmed to have ZERO FAULT, and wouldn’t earn the best UNRUH
     VIOLATION AWARD: This begins after the 1st Inspection and prior to the follow up Inspection:
 3
        •   The Defendants Issue, ONLY TO MY FAMILY, a ‘Notice of Intent to Terminate Voucher
 4
            for Failed Inspection’, over a month prior to the Inspection deadline date.
 5
                o Singled out to my family, without motive, with what I’ve never received during my 8
 6
                   years on Section 8, nor anyone else I’ve spoken to. (Automatic Discrimination by
 7
                   itself)
 8                     ▪     Singled out with no past Inspection failures or issues and it was determined
 9                           that none of the repair needs were Tenant Caused (Meaning NO FAULT)
10      •   Failed at THEIR OBLIGATION to schedule the Inspection, that was of enough vital
11          importance to issue such a Threat.

12      •   Failed to RESCHEDULE the UNSCHEDULED INSPECTION, which would be normal.
        •   Failed to follow their NORMALLY UTILIZED ABATEMENT PROCEDURE.
13
        •   I asked Wendy (the Apt Manager) and Sara (the Section 8 Inspector), what happened and was
14
            told they never contacted one another nor did OHA secure scheduling of the Inspection.
15
        •   Sara came out special that day and a week later and the Inspection passed.
16
        •   The Defendants REFUSED to accept the Inspection that passed, that they knew wasn’t my
17
            fault, so they did so with the sole purpose of sticking to the plan and discriminating more.
18
        •   The Defendants, entered the Inspection as FAILED, WITH MY FAMILY HAVING NO
19          FAULT, YET THEY CHOSE TO PLACE BLAME FOR THEIR FAILURE ON MY
20          FAMILY IN ORDER CAUSE HARM, what good would they have felt that homelessness
21          would accomplish?

22      •   The Defendants not only, with MALICE OF FORETHOUGHT, intentionally PLACED

23
            BLAME ON US FOR THEIR FAILURE, but also, SENTENCED MY FAMILY TO
            LEAVE SAFETY AND TO LIVE LIFE HOMELESS, well aware that they were the guilty
24
            party, but also aware that we would have no means of defending ourselves, against their 4,
25
            and that we would be damaged extensively as a result.
26
     Because of their hateful actions, my son and I were separated, he was taken by CPS on March 5,
27
     2019, from us being homeless, where he became suicidal and was moved to Pasadena in June of
28   2019, until February of 2020, when he went into foster care in San Marcos.


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 1   WHAT’S OCCURRED OVERALL

 2          The OHA violated my family’s rights & lives on a severe basis as they bullied us and
     railroaded us out of our home, WITH ABSOLUTELY NO MOTIVE OTHER THAN
 3
     DISCRIMINATION. I came to these Courts for relief from such hateful actions, feeling content and
 4
     ready to fight for my family’s rights. Judge Curiel had other ideas. He chose their side, by
 5
     Stereotyping me by assuming that I, whether because I was disabled or black, would be scandalous
 6
     enough to falsify service, thus I hadn’t used ‘Reasonable Diligence’, even though I had; which in his
 7   mind, could have been the ONLY reason why 4 allegedly prominent ladies who ran & operated the
 8   OHA, wouldn’t Answer the Complaint in their own Defense, over the course of 1 ½ years. So, he ran
 9   to their defense, 1st by contacting the City Attorney, then manipulating the facts of the case and
10   related laws, thus manipulating & defrauding the courts, until he committed the 5-7 acts that

11   guaranteed their entry with a clean slate, that were undeserved and illegally acquired, by use of
     falsified evidence, facts and actions, then he remained to make certain that his supportive actions took
12
     full effect, and then RECUSED HIMSELF.
13
     HIS REPLACEMENT
14
            The 2nd Judge, the Hon Jinsook Ohta, only chose to respond to the 3 + motions of the
15
     Defendants, while ignoring the 22 Motions that I filed. But she didn’t ignore them completely,
16   because she did use my Motions to utilize the 90-day Judgement requirement, which was to their
17   favor as well. But after I realized her tactic and stopped filing Motions, she took it to the 88th day.
18   She then set another hearing, on their Motion as well, to Dismiss the 7thAC even though I’d presented

19   her with the proof that Judge Curiel had not only confirmed that it stated Claims, but also
     ORDERED me to file it in its current state, with capitalization & bold as emphasis. But she again
20
     showed her support by her hearing to Dismiss it, which actually had very little to do with the
21
     dismissal of it. She proceeded to wrongfully determine that I hadn’t satisfied the GOVERNMENT
22
     TORT CLAIMS requirements, by disregarding my reassurances and blatantly taking the Defendants
23
     Attorney’s words as Gospel, which were in error. Then she chose to STRIP AWAY MY CAUSE OF
24   ACTION, THE UNRUH CIVIL RIGHTS ACT OF THE CALIFORNIA CIVIL CODE § 51, by
25   claiming it wasn’t proper when IT IS TOTALLY FITTING FOR THEIR ACTIONS AGAINST MY
26   FAMILY, it was done because of it having no CAP, which was the only true way she could assist
27   without closing it in conflict, although it still is. I didn’t come here to be bullied and wronged because

28
     I’m self-represented or for any other reason. They were malicious, evil, eager to place the blame for


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 1   their failure on my family and proceeded to do so, conspired, intentional, inconsiderate, unnecessary,

 2   known that they would cause definite harm to my family.
     WHAT I’M EXPECTED TO DO
 3
            I’m expected to simply lie down and continue to take this misjustice that’s been intentionally
 4
     committed against me, and continues to be. I asked for RECONSIDERATION, which was proper,
 5
     but again, it wasn’t considered and still sits there at [ECF No 194], totally disregarded, when it is
 6
     legitimate. If anyone has empathy, perhaps they can use my shoes for a second and see for
 7   themselves. I haven’t been heard or considered for this entire 3 years, and now there are plans to lay
 8   it out for an additional year, when the 1st 2 years were wasted away because of their refusal to
 9   Answer. They worked together against me at their jobs and they successfully worked against me here
10   at the Courts. How do I know? Even though one doesn’t work there anymore, all 4 Defendants failed

11   to answer, when without cooperation, 1, 2, or 3 would have decided to fight. But all 4 didn’t for 1 ½
     years, but coincidentally answered at the same time on July 1, 2021 and I filed March 31, 2020.
12
     WHAT I WANT TO OCCUR
13
            I will plead my case to higher courts, because I know the facts surrounding my case are true
14
     and the discriminatory actions taken against it are as well. I won’t stand here for another year as the
15
     Defense slanders me and my family and I shouldn’t be made to. I want a ruling that will land my case
16   in the 9th Circuit Court of Appeals, where I feel it will be treated fairly and impartially, which hasn’t
17   been done here and I haven’t been heard or considered. I also want to go there because Judge Curiel’s
18   actions are already in place to be reviewed for ‘Judicial Misconduct’. In all fairness, I’ll fight for this

19   case to be returned to where Judge Curiel changed its natural course or for my case to be actually
     reviewed and ruled on accordingly, with morals and ethics involved in that decision.
20
     If I’m ruled against for fighting for my rights to fairness & equality, so be it. Favoritism has
21
     dominated here and I’m no longer willing to be a party to it. Anyone can say they won’t use it, but
22
     the PROOF, will only be shown by he/she that’s willing to look sincerely at the evidence, which
23
     hasn’t occurred from an unbiased standpoint. Because it would be clear to see that the Defendants
24   HAVE ABSOLUTELY NO EVIDENCE OR TESTIMONY, and I do. Also, no one here has been
25   willing to look at Judge Curiel’s actions nor the following actions that have been purposely set
26   against my case. My case should be set back to where it was wrongfully & illegally compromised by
27   Judge Curiel and the penalties for not Answering the Complaint, while respecting the Summons,

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     imposed rightfully, in the interest of justice. THEY FAILED TO ANSWER 5 TIMES WITH NO


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 1   REASON BUT BY CHOICE, yet they have all rights restored, upon entry, because of the

 2   DECEITFUL & RIGHTS VIOLATING actions of Judge Curiel, WHO WAS SET ON
     DESTROYING MY CASE, WHICH HAS BEEN ALLOWED TO CONTINUE AND HIS GOAL IS
 3
     CURRENTLY ON COURSE. I HAVE THE RIGHT TO FIGHT FOR MY RIGHTS AGAINST
 4
     WHOEVER VIOLATES THEM OR ALLOWS VIOLATIONS TO PERSIST. Any Judge can rule
 5
     for a Summary Judgement or a Judgement on the Pleadings at any time, on a case with no Merit,
 6
     Evidence, Credibility, Testimony, Documents, etc., and NEITHER of these does the Defense have,
 7   yet they’re allowed to continue to challenge in a case where the Plaintiff has numerous amounts of
 8   each. They have fought with only slander of me, while I’ve filed Motions for a Judgement on the
 9   Pleadings & to Dismiss their Case as Frivolous, but received no response, except from the biased
10   Judge Curiel who of course, denied it, even though it’s legitimate. Why does these Motions exist if

11   they aren’t honored across the board? I STAND IN PROTEST OF WHAT’S OCCURRED IN MY
     CASE!
12
     ACCORDING TO CANON 1:
13
             The integrity and independence of judges depend in turn on their acting without fear or
14
     favor. Although judges should be independent, they must comply with the law and should comply with
15
     this Code. Adherence to this responsibility helps to maintain public confidence in the impartiality of
16   the judiciary. Conversely, violation of this Code diminishes public confidence in the judiciary and
17   injures our system of government under law. Our Judiciary is surely injured and my confidence in the
18   system is shot, but wasn’t until I filed this case.
19   ACCORDING TO CANON 2A:
         An appearance of impropriety occurs when reasonable minds, with knowledge of all the
20
     relevant circumstances disclosed by a reasonable inquiry, would conclude that the judge’s honesty,
21
     integrity, impartiality, temperament, or fitness to serve as a judge is impaired. Public confidence in
22   the judiciary is eroded by irresponsible or improper conduct by judges, including harassment and
23   other inappropriate workplace behavior. Erosion is dominant, where a Judge went as far as to
24   repeatedly defraud the Courts with perjured facts, in order to make & keep a Plaintiff even more

25   inferior, in the eyes of his violators, who conspired and did the same at their place of business.
             They speak about even the appearance of impropriety, which has to do with a Judge’s
26
     integrity, impartiality, etc. A lack of it erodes public confidence in the judiciary by irresponsible or
27
     improper conduct, etc.
28


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 2   ACCORDING TO THE JUDICIAL CONDUCT COMMISSIONS:
            A judge commits willful misconduct if the judge violates the code of judicial conduct while
 3
     acting in a judicial capacity and with malice or in bad faith—in other words, when the judge knew or
 4
     should have known the act was beyond his or her power or when the judge was acting for a purpose
 5
     other than faithful discharge of judicial duties. Prejudicial conduct may be committed by a judge
 6
     while acting either in a judicial capacity or in other than a judicial capacity and does not require bad
 7   faith but only negligent conduct that to an objective observer would appear to be prejudicial to
 8   public esteem for the judicial office although actual notoriety is not required (see, e.g., Adams,
 9   1995:547-48; Commission v. Milling, 1997, at 538).
10   MY RELATED EXPERIENCE

11          Judge Curiel did all of the above to me and more. His Prejudicial Conduct was in bad faith
     towards my case, FROM STEREOTYPING ME IN ERROR, which is prejudicial. The 6-7 actions
12
     that he purposely took against my case to give total advantage to the my & my son’s violators, the
13
     Defendants, whom he had to reach out to and support, for them to actually decide to step up &
14
     become the Defendants they are today. He changed the natural course of this case, because these 4
15
     capable Defendants, whom position begins with Director, had only ONE reason for their intentional
16   failure to Answer; because they’re GUILTY and their sudden change of hope came by way of an
17   agreement of protection. He questioned my use of ‘Reasonable Diligence’ in having them served,
18   knowing all along that I had fulfilled that requirement, otherwise IT WOULD HAVE BEEN USED

19   AS THEIR ONE & ONLY LINE OF DEFENSE. Without his communicating with them, to vow that
     he’d get them a clean slate upon entry, they would never have answered. Why do you think he
20
     blatantly lied to the Courts, while willing to put himself & his reputation at risk, if not to save them
21
     from cunning of the big bad wolf. I’m rightfully the way that I am, because my confidence in
22
     receiving fairness has been corrupted by the predetermined actions, that he dedicated himself to &
23
     used his position as a Judge to carry out, and recused himself, only after the damage was done. He
24   falsified facts and committed other maneuvers to bring the Defendants in clean-slated, 1 ½ + months
25   after I filed and after having them served on 3 occasions, and the 4th proven to have Reasonable
26   Diligence, which his false court revelations, worded by stating, “Defendants were not served any of
27   Plaintiff’s earlier complaints. Defendants’ participation in this case therefore effectively began only

28
     once they were served with Plaintiff’s 6AC, on June 11, 2021” [ECF No. 133 top of page 5]; leaving


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 1   my every effort & sacrifice, SIMPLY ERASED. This would determine that the vast amount of ink &

 2   paper I’d used to print, which I also spent hours to type, separate & organize for each of the 5
     Defendants, the times I had the Defendants served with Covid 19 restrictions in place, the high priced
 3
     gas I’d used in this process, which consisted of multiple trips at times, the expense of stamps &
 4
     mailing, what would often be heavy with 20+ pages for each Defendant, and the actual person who
 5
     spent their time to serve the Defendants on my behalf, was all done in vain, which he totally
 6
     disregarded, as if it were a piece of used paper. I felt more victimized than ever from having to live
 7   the true ‘Cinderella Story’, which immediately made me feel totally inferior to the ones who felt as
 8   he did, without a 2nd thought while taking the necessary steps to cause our homeless fate.
 9          Now I’m expected to give them more time to become haughtier for their actions, which is a
10   luxury that they’ve been given by the Courts. They intentionally made me wait 1 ½ + years, and now

11   their attorneys are pushing for another year on top of that. No one is willing to look sincerely into it,
     and I have a right to appeal his actions because they were discriminatory at the very least. They were
12
     purposeful with intent to destroy my case, otherwise, why perform actions that would do just that?
13
     When I reach the higher courts, they will immediately recognize the intent behind his actions, which
14
     is already underway, and those who continued his efforts, by not giving my case the respect and
15
     consideration it truly deserves, in order to counter the repulsive stance that he took against my case,
16   and the methodical manner in which he accomplished the erasure, of the time I’d spent on this case.
17   His intentional erasure of my involvement, left my efforts & rights like that of a slave, back in that
18   period of time. I believe my case will qualify for help from an equal rights perspective, that may be

19   worthy of media attention as well, because I HAVE BEEN WRONGED BY DISCRIMINATION
     AND I’M NOT HAPPY WITH MY VIOLATORS, BEING PLACED OVER ME, WHEN THEY
20
     BROKE THE LAWS AT THEIR PLACE OF BUSINESS AND WITH THE COURTS. I DETEST
21
     FAVORITISM. I HAVE REMAINED CIVIL THROUGHOUT. If I’m out of line and supposed to be
22
     elated by this treatment, please tell me the error of my ways. I know that a true reexamination of the
23
     removal of the Unruh Civil Rights Act, will present proof that there was more support for the damage
24   that’s already been done to my case. It’s been impossible for me to locate Case Law related to the
25   OHA actions or Judge Curiel’s, which gives hope that their treatment of the innocent & victimized is
26   isolated, in the higher levels of the Courts especially.
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 1   IN CLOSING

 2          As I’ve stated, my case is only appropriate for the 9th Circuit Court of Appeals, due to the
     mishandling of it here, which is an understatement. I don’t feel comfortable here as a person violated
 3
     by the Defendants, and don’t feel that I will receive fair & impartial treatment by the courts. I’m
 4
     already without the Unruh Civil Rights Act by the same design, but I will have it reinstated, simply
 5
     due to the Defendants actions. I will appeal my case to where it truly will be heard and considered as
 6
     the one-sided case that it is, which is NOT my doing, but that of the cooperative actions of the
 7   Defendants. I should not be in opposition to them & the courts as I’ve been forced to do. Their failure
 8   to schedule the Inspection at their place of business and failure to Answer at these courts in the time
 9   specified on the Summons, should have rightfully been their stopping point, with no leave to advance
10   further, which is where Judge Curiel made the change that wrongfully changed the natural course of

11   this case. If I’m sanctioned for defending my rights, so be it, maybe I’ll qualify for a fee waiver. So,
     I’m requesting that these courts forward my case to the place where I feel comfort, and again, this is
12
     not of my own doing. I’m asking the court to do what it takes to refer me & my case to the 9th Circuit
13
     Court of Appeals. Nearly 2 years that were blatantly erased, is enough for me. How should they be
14
     allowed to have the right to come here late, and it be erased to place another year on my family, when
15
     I’ve been prompt from the very beginning. That once again, equals my family being punished
16   because of their failure.
17   The answer is simple: Go by the evidence, that’s unexplored thus far, and do what’s right and
18   rule in my favor due to the fact that they have NO case of ability to defend their actions, or

19   disregard the evidence that’s at your disposal, and follow the biased trail that’s been marked
     with the bread crumbs that make up their Defense, that will release me to the ethical path that
20
     I’ve been destined to follow. The choice is yours. Thank you for your consideration.
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